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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                    )
 NATIONAL SECURITY ARCHIVE,                         )
                                                    )
                         Plaintiff,                 )
                                                    )
                           v.                       ) Civil Action No. 17-492 (TSC)
                                                    )
 UNITED STATES DEPARTMENT OF                        )
 DEFENSE,                                           )
                                                    )
                         Defendant.                 )
                                                    )

                                 PLAINTIFF'S PROPOSED ORDER


         Upon consideration of the Parties’ Joint Status Report and the schedule proposed therein,

it is hereby ordered that the United States Department of Defense shall continue its release of

documents every two months with the next production to be made February 28, 2018. The

Department of Defense will also provide an index of both the original corpus of approximately

95,000 documents as well as an index of the new corpus of approximately 52,000 documents

DOD Counsel identified at the September 7, 2017 hearing. Finally, the rescheduled hearing for

this case will occur on ___________________________.

SIGNED:



Dated:                                               TANYA S. CHUTKAN
                                                     United States District Judge
